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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

        TRUE THE VOTE, INC.,

                                                Plaintiff,
            v.                                               Civ. No. 13-cv-00734-RBW

        INTERNAL REVENUE SERVICE, et al.,
                                                             Hearing Requested
                                             Defendants.


                      MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
                      PRELIMINARY INJUNCTION AND EXPEDITED DISCOVERY
                             TO PREVENT FURTHER SPOLIATION OF,
                               AND TO PRESERVE AND RESTORE,
                          EVIDENCE AND DISCOVERABLE INFORMATION




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                                       UNITED STATES DISTRICT COURT
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        TRUE THE VOTE, INC.,

                                                         Plaintiff,
           v.
                                                                      Civ. No. 13-cv-00734-RBW
        INTERNAL REVENUE SERVICE, et al.,

                                                      Defendants.


                       MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
                       PRELIMINARY INJUNCTION AND EXPEDITED DISCOVERY
                              TO PREVENT FURTHER SPOLIATION OF,
                                AND TO PRESERVE AND RESTORE,
                           EVIDENCE AND DISCOVERABLE INFORMATION

                   Plaintiff True the Vote, Inc. (“True the Vote”), by counsel, respectfully states as follows

        in support of its Motion for Preliminary Injunction and Expedited Discovery (“Motion”). The

        preliminary injunctive relief sought by True the Vote would prevent Defendants from engaging

        in and permitting any further destruction of evidence1—in addition to the emails that, according

        to the IRS, were previously “lost” by one or more Defendants after the “IRS Targeting Scheme”

        (Am. Compl. ¶ 73) was already the subject of litigation that has since been transferred to this

        Court and after congressional investigations were already well underway.2             The expedited

        discovery sought by True the Vote would permit an independent forensic examination of


                   1
                 When the parties met and conferred with respect to the relief sought by True the Vote,
        counsel for the IRS contended that the pendency of its motion to dismiss meant that what True
        the Vote seeks to preserve and restore is not “evidence.” Whether the documents and emails at
        issue are “evidence” cannot be decided unilaterally by Defendants. True the Vote seeks to
        preserve all discoverable information within the scope of the Federal Rules of Civil Procedure.
                   2
                  According to public statements by Defendant the Internal Revenue Service (the “IRS”),
        the lost emails were on the hard drive of a government computer issued to Defendant Lois Lerner
        (“Ms. Lerner”).


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        computers, servers, computer systems, and records related to computers and computer systems in

        Defendants’ possession, custody, and control. As part of the requested examination, the

        computer forensics expert would copy hard drives and other storage devices to prevent any

        further destruction of electronic evidence, whether inadvertent or intentional. To the extent that

        forensic examination reveals the loss of electronic evidence, the expert would also attempt to

        ascertain how and when the loss occurred and whether any of the missing emails, data, and other

        electronically stored information (“ESI”) can be recovered.

                                     I.      PRELIMINARY STATEMENT

                   Even without a “litigation hold” letter, defendants, prospective defendants, and their

        counsel are obligated to preserve potentially relevant evidence in both hard copy and electronic

        evidence. “Counsel and client must act to preserve evidence as soon as they are on notice of its

        relevance to current or future litigation.”3 In this case, however, Defendants are held to an even

        higher standard.      As a federal agency, the IRS—including the various current and former

        employees of the IRS named as Defendants (collectively, the “Individual Defendants”)—must

        “make and preserve records containing adequate and proper documentation of the organization,

        functions, policies, decisions, procedures, and essential transactions of the agency,” 44 U.S.C. §

        3101, “so that . . . records can be readily found when needed,” 36 C.F.R. 1222.34; see also 44

        U.S.C § 3102 (“The head of each Federal agency shall establish and maintain an active,

        continuing program for the economical and efficient management of the records of the agency.”).

        These statutory obligations were further heightened by the fact that, long before True the Vote


                   3
                 Miller, Michael C. and Theodore, Jeffrey M., “A Road Map for Document Preservation:
        Keeping the Nightmares at Bay,” ABA Litigation Journal (Oct. 25, 2013) (citing Kronisch v.
        United States, 150 F.3d 112, 126 (2d Cir. 1998)), available at http://www.steptoe.com/
        publications-9129.html.


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        filed suit, at least two events put Defendants on additional notice of their document preservation

        obligations. First, Congress was publicly investigating the IRS’s targeting of applicants for tax-

        exempt status perceived to have conservative political views. Second, a pro-Israel group that had

        also been targeted by the IRS—Z Street, Inc.—had filed suit in federal court on August 25,

        2010.4 Under the circumstances, True the Vote’s litigation hold letter to Ms. Lerner and the

        other Individual Defendants was the epitome of a “belt and suspenders” precaution.

                   But True the Vote sent them such a letter anyway. On September 17, 2013—after

        amending its original complaint to include as Defendants all of the individuals known at the time

        to have been involved in the targeting scheme and after learning the identity of their counsel—

        True the Vote sent standard form litigation hold letters5 to counsel for the two groups of

        Individual Defendants: the “IRS Management Defendants”6,7 and the “IRS Cincinnati




                   4
                 This litigation, styled Z Street, Inc. v. Koskinen, is currently pending before this Court
        as Case No. 1:12-cv-00401.
                   5
                       Copies of these litigation hold letters are attached as Exhibit A.
                   6
                The IRS Management Defendants are—in addition to Ms. Lerner—Steven Grodnitzky,
        Lois Lerner, Steven Miller, Holly Paz, Michael Seto, Douglas Shulman, William Wilkins, Cindy
        Thomas, and David Fish.
                   7
                 Although David Fish is among the IRS Management Defendants, he is not currently
        represented by counsel. Due to an accident, Mr. Fish at one time was incapacitated. On
        September 26, 2013, this Court ordered that matters of his legal representation and the potential
        appointment of a guardian ad litem would be held in abeyance until further order of the Court.
        (Dkt. # 58). On April 1, 2014, counsel for the IRS informed counsel for True the Vote that Mr.
        Fish had recovered sufficiently to return to work and that further updates would be provided.
        Not having received any such updates, counsel for True the Vote raised the issue during the
        course of the June 24, 2014 “meet and confer.” Counsel for the IRS Management Defendants
        admitted that she would be representing Mr. Fish. After first requesting that counsel for True the
        Vote so notify the Court, she ultimately agreed to do so but has yet to actually enter an
        appearance on behalf of Mr. Fish.


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        Defendants.”8 Counsel for the IRS Cincinnati Defendants never responded at all. The response

        from counsel for Ms. Lerner and the other IRS Management Defendants was both fast and

        furious. Notwithstanding her belligerent tone, however, counsel for Ms. Lerner and the other

        IRS Management Defendants did at least promise to “abide by my legal and ethical

        obligations.”9        At that point, if the attorneys who had appeared as counsel of record for

        Defendants knew that relevant evidence had already been “lost,” they certainly were not telling.

                   Six months later, on March 28, 2014, True the Vote sought to schedule a conference with

        Defendants’ counsel pursuant to Federal Rule of Civil Procedure 26(f).10 The required topics of

        discussion at such a Rule 26(f) conference include “issues about preserving discoverable

        information.” Fed. R. Civ. P. 26(f)(2). That same day, counsel for the IRS responded: “Until the

        Court has ruled on the pending motions to dismiss, we believe it would be premature to schedule

        a Rule 26(f) conference.”11 Four minutes later, counsel for the IRS Cincinnati Defendants

        weighed in: “We agree with the government.”12 Fifteen minutes after that, counsel for Ms.

        Lerner and the other IRS Management Defendants responded: “We also agree with the

        government.”13          Of course, Defendants’ position that a Rule 26(f) conference is and was


                   8
                        The IRS Cincinnati Defendants are Susan Maloney, Ronald Bell, Janine L. Estes, and
        Faye Ng.
                   9
               A copy of the September 25, 2013 response from counsel for Ms. Lerner and the other
        IRS Management Defendants is attached as Exhibit B.
                   10
                 A copy of an email from counsel for True the Vote requesting such a Rule 26(f)
        conference, sent on March 28, 2014 at 10:39 a.m., is attached as Exhibit C.
                   11
                   A copy of the email response from counsel for the IRS, sent on March 28, 2014 at 2:42
        p.m., is attached as Exhibit D.
                   12
                A copy of the email response from counsel for the IRS Cincinnati Defendants, sent on
        March 28, 2014 at 2:46 p.m., is attached as Exhibit E.
                   13
                A copy of the email response from counsel for the IRS Management Defendants, sent
        on March 28, 2014 at 3:01 p.m., is attached as Exhibit F.


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        “premature” simply because a motion to dismiss is pending before this Court is unsupported by

        any governing rule, case law, or court order.14 To make matters worse, at no time before or after

        refusing to participate in a Rule 26(f) conference did counsel for Defendants ever disclose that

        the “issues about preserving discoverable information” (Fed. R. Civ. P. 26(f)(2)) included the

        fact that emails directly related to the subject matter of this litigation had been lost or destroyed.

                   The first and only disclosure of this fact to counsel for True the Vote did not come from

        counsel for any Defendant. Instead, True the Vote and its counsel first learned of the missing

        emails from published reports late in the day on Friday, June 13, 2014. According to initial and

        subsequent news reports, at least two years’ worth of emails spanning a crucial time period

        relevant to this litigation have gone missing.15 The lost emails belong to at least seven IRS

        employees implicated in this case. One of them is Ms. Lerner, who directed the IRS division

        responsible for targeting applicants for tax-exempt status perceived to have conservative political

        views.16 According to published accounts, the hard drive on Ms. Lerner’s IRS computer

        “crashed” just ten days after a June 3, 2011 congressional letter inquired about the possible




                   14
                  In fact, courts have ruled that a Rule 26(f) conference can proceed despite the pendency
        of a motion to dismiss. See Escareno v. Lundbeck, LLC, No. 3:14-cv-257-B, 2014 U.S. Dist.
        LEXIS 66824, at *5 (N.D. Tex. May 15, 2014) (“Filing a Rule 12(b)(6) motion to dismiss does
        not automatically stay discovery or require postponing a Rule 26(f) conference until the motion
        is resolved.”).
                   15
                 See, e.g., Stephen Ohlemacher, IRS Says It Lost Lois Lerner’s Emails in Targeting
        Probe, Huffington Post, June 14, 2014, available at http://www.huffingtonpost.com/
        2014/06/14/irs-says-it-lost-lois-ler_n_5494762.html.
                   16
                        Eliana Johnson, IRS Has Lost More E-mails, National Review, June 17, 2014,
        available        at http://www.nationalreview.com/corner/380576/irs-has-lost-more-e-mails-eliana-
        johnson.


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        targeting of donors to politically conservative groups.17 More than three years elapsed, however,

        before the emails were reported missing, notwithstanding a federal statute requiring the agency

        to notify the National Archives and Records Administration (“NARA”) of such a loss.18

        According to the National Archivist, NARA was first notified of the alleged loss by letter on

        June 13, 2014. Id.

                   On Monday, June 16, 2014—the next business day after public disclosure of the missing

        emails—True the Vote’s counsel sent Defendants’ counsel correspondence on the subject

        “Litigation Hold—Preservation of Responsive Evidence.”19             The June 16, 2014 Document

        Preservation Letter posed a series of questions to Defendants’ counsel, including the following:

                            1.     What steps did each of you, as counsel for the Defendants, each of
                   them, take to ensure that any and all documents as described in the litigation hold
                   letter and as required by federal law were, in fact, preserved?

                          2.     When did you learn that the destruction, loss or spoliation of
                   emails of Defendant Lois Lerner had occurred?

                           3.     What steps have you, each of you, taken to restore Ms. Lerner’s
                   “lost” emails?

                          4.    Were the “lost” emails from Ms. Lerner’s computer at the IRS or
                   her home computer?

                           5.      Are there documents or records, as described in the Litigation Hold
                   letter or the subpoenas issued to the IRS from any of the Committees, belonging
                   to other defendants that have been “lost”?


                   17
                  Patrick Howley, IRS CANCELLED Contract with Email-Storage Firm Weeks After
        Lerner’s Computer Crash, June 22, 2014, www.dailycaller.com/2014/06/22/irs-cancelled-
        contract-with-email-storage-firm-weeks-after-lerners-computer-crash.
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                  Testimony of David S. Ferriero Archivist of the United States Before the House
        Committee on Oversight and Government Reform on "IRS Obstruction: Lois Lerner's Missing E-
        mails, Part II" Tuesday, June 24 2014, 113th Cong. 1-3 (2014), http://oversight.house.gov/wp-
        content/uploads/2014/06/Ferriero-NARA-Testimony-6-23-IRS-E-Mails.pdf.
                   19
                 A copy of the June 16, 2014 correspondence from True the Vote’s counsel (the “June
        16, 2014 Document Preservation Letter”) is attached as Exhibit G.


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        The June 16, 2014 Document Preservation Letter also sought Defendants’ consent to the relief

        sought by way of this Motion, inquiring as follows:

                            In addition to seeking responses to the questions in this letter, we also seek
                   your consent to immediately allow a computer forensics expert selected by TTV
                   to examine the computer(s) that is or are purportedly the source of Ms. Lerner’s
                   “lost” emails, including cloning the hard drives, and to attempt to restore what
                   was supposedly “lost,” and to seek to restore any and all “lost” evidence pertinent
                   to this litigation.

                          We also seek access to all computers, both official and personal, used by
                   any and all of the Defendants from and after July 1, 2010, in order to ensure
                   preservation of the documents of all Defendants in this action.

                   By email correspondence dated June 18, 2014, counsel for the IRS responded that “[w]e

        do not believe it to be appropriate or necessary to address your unwarranted attacks on the

        government and its counsel at this time.”20 Rather than respond to the specific questions posed

        in the June 16, 2014 Document Preservation Letter, counsel for the IRS simply “enclosed a

        memo entitled ‘Designation of IRS Email Collection and Production’ that was submitted to

        Congress on June 13, 2014.”

                   By email correspondence that same day, counsel for the IRS Cincinnati Defendants

        disclaimed any responsibility, stating as follows: “I do not represent Ms. Lerner; neither I nor

        my clients had any involvement in the events described in your letter; and we have no control

        over the IRS or how it stores computer equipment, such as individual hard drives.” Rather than

        address the specific questions posed in True the Vote’s June 16, 2014 Document Preservation




                   20
                 A copy of the June 18, 2014 response from counsel for the IRS is attached as
        Exhibit H.


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        Letter, counsel for the IRS Cincinnati Defendants stated that “my clients are aware of their

        obligations regarding document preservation.”21

                   Last but not least, counsel for the IRS Management Defendants weighed in with email

        correspondence calling the June 16, 2014 Document Preservation Letter “irresponsible,” among

        other adjectives. Like counsel for the IRS Cincinnati Defendants, counsel for the IRS

        Management Defendants disclaimed any and all responsibility, stating:

                           Your letter concerns the production of documents, including Lois Lerner’s
                   emails, by the Internal Revenue Service in connection with an investigation by the
                   House Ways and Means Committee. As you know, I do not represent, control or
                   direct the IRS nor do I have any involvement in the Congressional investigation.
                   In this case, filed by your client, True the Vote, I represent a number of the
                   individual defendants, including Ms. Lerner, who is no longer employed by the
                   IRS. Neither she nor I have any control over documents in the custody or control
                   of the IRS.

        Counsel for the IRS Management Defendants also stated that “discovery has not begun in this

        case, as there are pending motions to dismiss that have been filed with the Court. Therefore,

        there are no documents that are required to be produced at this time.” Finally, counsel for the

        IRS Management Defendants asserted that the June 16, 2014 Document Preservation Letter

        “mischaracterizes prior correspondence in this case” but reiterated her prior commitment to

        “advise my clients as appropriate” and “abide by my legal and ethical obligations.”22

                   In short, no Defendant provided any response to any of the specific questions posed in the

        June 16, 2014 Document Presentation Letter.              No Defendant described the document

        preservation efforts, if any, that have been undertaken. Nor did counsel even deign to address



                   21
                 A copy of the June 18, 2014 correspondence from counsel for the Cincinnati
        Defendants is attached as Exhibit I.
                   22
                 A copy of the June 18, 2014 correspondence from counsel for the IRS Management
        Defendants is attached as Exhibit J.


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        whether Defendants would consent to the relief requested. By email that same day, counsel for

        True the Vote pointed out this latter omission, stating as follows:

                           Specifically, your correspondence does [not] address whether your
                   respective client(s) will consent to have a computer forensics expert access its,
                   his, or her computer(s)—both “official” and “personal”—for the purpose of (1)
                   cloning the hard drive(s), (2) attempting to restore any files that may have been
                   lost or destroyed, inadvertently or deliberately; and (3) seeking to restore any
                   electronically stored information pertinent to this litigation that may have been
                   lost or destroyed.

        The June 18, 2014 email from counsel for True the Vote concluded with a request to “meet and

        confer” regarding the requested relief.23

                   Such a discussion finally took place on Tuesday, June 24, 2014. At that time, counsel for

        Defendants refused to discuss what steps—if any—their respective clients had previously taken

        to preserve evidence. (Counsel for the IRS also suggested that potentially relevant documents

        were not really “evidence” because of the pendency of Defendants’ motions to dismiss).

        Counsel for Defendants also confirmed orally what seemed at least implicit from their lack of

        any prior written response: Defendants will not consent to forensic examination of any of the

        computers in question.

                   Defendants’ refusal to cooperate is all the more troubling because, according to IRS

        Commissioner John Koskinen, the IRS has already “recycled” the hard drive of the IRS

        computer used by Ms. Lerner in accordance with “the normal process.”24 Yet this “recycling”

        occurred after the filing in this Court of litigation involving the IRS Targeting Scheme and after


                   23
                 A copy of a June 18, 2014 email from counsel for True the Vote is attached as
        Exhibit K.
                   24
                 IRS Obstruction: Lois Lerner's Missing Emails: Hearing Before the H. Oversight and
        Gov't Reform Comm., 113th Cong. (June 23, 2014, 7:00 p.m.) (Answer of John A. Koskinen,
        Commissioner, Internal Revenue Service) http://oversight.house.gov/hearing/irs-obstruction-lois-
        lerners-missing-e-mails/ (Answer of IRS Commissioner Koskinen at 26:46 in video).


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        the commencement of various congressional inquiries and investigations regarding the IRS

        Targeting Scheme in general and True the Vote’s application in particular. Regardless of its

        ostensible purpose, the IRS’s “recycling” may well have had the effect of making it difficult if

        not impossible to retrieve the contents of the hard drive of the computer that Ms. Lerner used at

        work. As for the computer(s) and PDAs that Ms. Lerner used both in and outside the office, her

        counsel simply refuses to even discuss what measures—if any—have been taken to preserve ESI.

        Yet according to published accounts, IRS officials used their home computers for “sensitive”

        communications, and Ms. Lerner’s emails in which she sought to foment an audit of a U.S.

        Senator with whom she disagrees were reportedly sent from her BlackBerry.25 Further, recent

        testimony of Commissioner Koskinen that “[s]ince January 1 of this year for example, over 2000

        IRS employees have suffered hard drive crashes” suggests True the Vote’s concerns about the

        security of additional documents are well founded.26 And, yes, this stonewalling by Defendants’

        counsel inspires no confidence that additional hard drives and other storage devices containing

        relevant information will not face the same fate, forever destroying evidence relevant to the

        claims of True the Vote and other litigants before this Court.



                   25
                  See, e.g., Dinan, IRS’s Lerner Sought Tax Audit of Iowa Sen. Chuck Grassley Over His
        Wife’s Free Meal, June 26, 2014, http://www.washingtontimes.com/news/2014/jun/26/irss-
        lerner-sought-tax-audit-iowa-sen-chuck-grassl/?page=all; Howell, Clinton Adviser Lanny Davis:
        IRS Scandal Needs An Independent Prosecutor, Washington Times, June 28, 2014
        http://www.washingtontimes.com/news/2014/jun/28/clinton-adviser-irs-scandal-needs-
        independent-pros/ (noting that email “message sent from her BlackBerry device to several IRS
        colleagues”).
                   26
                 IRS Obstruction: Lois Lerner's Missing Emails: Hearing Before the H. Oversight and
        Gov't Reform Comm., 113th Cong. (June 23, 2014, 7:00 p.m.) (Answer of John A. Koskinen,
        Commissioner, Internal Revenue Service) http://oversight.house.gov/hearing/irs-obstruction-lois-
        lerners-missing-e-mails/. (Answer of IRS Commissioner Koskinen at 35:12 in video).




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                   Equally troubling is the deafening silence from counsel for Defendants in response to

        other pertinent questions. Have forensic searches been conducted of the servers where IRS data

        (including emails) are stored permanently? Have proper searches and retrieval efforts (or any

        searches and retrieval efforts, for that matter) been performed by the vendors with which the

        Department of Treasury has entered into contracts—at taxpayer expense—for the purpose of

        archiving IRS emails? Have Defendants—including the Individual Defendants—preserved their

        electronic communications (emails) in hard copy format as required by Internal Revenue Manual

        Section 1.10.3.2.3(3)? What steps have Defendants and their counsel taken to preserve the

        “personal” documents and evidence, including emails, potentially relevant to this case?

                   The IRS Targeting Scheme has already deprived True the Vote of its constitutional rights

        to free speech, free association, and due process—among other protections of the Bill of

        Rights.27 Without the relief sought in this Motion, True the Vote is likely to suffer additional

        irreparable harm to its constitutional rights and to its ability to pursue its claims. To restore and

        preserve evidence necessary for the just and proper adjudication of this case, True the Vote

        therefore respectfully requests that the Court enter an order:

                           (a) allowing True the Vote access to Defendants’ premises for purposes of
                   inspecting computers and computer systems on which the “lost” documents are or may
                   have been stored, including the servers on which IRS emails are stored, and the personal
                   computers of the Individual Defendants;
                          (b) entering a preliminary injunction directing Defendants (including all persons
                   covered by Fed. R. Civ. P. 65(d)(2)) to preserve and prevent further destruction of all
                   documents and electronically stored information within the scope of Fed. R. Civ. P. 26(b)
                   and 34(a)(1)(A) in their possession, custody, and control;
                         (c) requiring Defendants to provide True the Vote with sworn statements—about
                   which True the Vote would have the opportunity to cross examine them—regarding

                   27
                   Depending on the answer to True the Vote’s questions, it may have additional claims
        because “negligent or reckless spoliation of evidence is an independent and actionable tort in the
        District of Columbia.” Holmes v. Amerex Rent-A-Car, 180 F.3d 294, 296 (D.C. Cir. 1999).


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                   Defendants’ knowledge of the whereabouts of relevant information and documents, the
                   preservation of such documents and information, and/or the destruction of such
                   documents and information;
                          (d) requiring that the parties confer pursuant to Fed. R. Civ. P. 26(f) and plan for
                   discovery within a reasonable time following the entry of the Order; and

                          (e) expedited discovery for the limited purpose of (a) ascertaining the
                   whereabouts and security of documents and electronically stored information related to
                   the IRS Targeting Scheme and True the Vote’s application for exempt status and (b)
                   developing a plan for restoring and preserving such documents and electronically stored
                   information—including requiring the IRS to identify third party vendor(s) responsible for
                   archiving and retrieving emails of IRS employees, and permitting True the Vote to
                   depose such vendors.

                   True the Vote respectfully requests a hearing on this Motion.28

                           II.      FACTUAL AND PROCEDURAL BACKGROUND

                   The IRS Targeting Scheme that is the subject of True the Vote’s Amended Complaint

        involved the development and implementation of a targeting scheme whereby certain applicants

        for tax-exempt status were deliberately subjected to additional review and scrutiny based on their

        actual or perceived affiliations, missions, and substantive philosophical views.                  The

        constitutional rights impaired by the IRS Targeting Scheme include rights of free speech, free

        association, and due process, according to True the Vote’s Amended Complaint. True the Vote

        also alleges violation of various statutes, include 26 U.S.C. § 6103 and 5 U.S.C. § 706

        (Administrative Procedure Act).

                   When True the Vote filed suit in this Court on May 21, 2013, it was actually the second

        non-profit organization targeted by the IRS to do so. The first was Z Street, an organization

        that—according to its Web site—“is for those who are willing not only to support – but to defend

        – Israel, the Jewish State.” See http://ziostreet.wordpress.com/about. Z Street filed suit on

                   28
                  Notably, on June 27, 2014, Judge Emmet G. Sullivan granted plaintiff Judicial Watch’s
        request for a status conference regarding the destruction of IRS records. Minute Order, June 27,
        2014, Judicial Watch, Inc. v. IRS, No. 13-1559 (D.D.C.). The hearing is set for July 10, 2014.


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        August 25, 2010. In that litigation, the IRS’s resistance to providing discovery has recently been

        the subject of a decision by this Court. See Z St., Inc. v. Koskinen, No. 12-cv-0401 (KBJ), 2014

        U.S. Dist. LEXIS 71638 (D.D.C. May 27, 2014).29

                   Shortly after Z Street filed suit, more suspicions arose regarding the neutrality of the IRS,

        spurring various congressional inquiries.         These congressional inquiries were prompted by

        reports from constituents about unprecedented delays by the IRS in processing applications for

        tax exempt status. The various members of Congress who began contacting the IRS included

        Representative Darrell Issa (“Chairman Issa”), Chairman of the House Committee on Oversight

        and Government Reform (“Oversight Committee”), and Representative Dave Camp (“Chairman

        Camp”), Chairman of the House Ways & Means Committee (“Ways & Means”). One of the

        organizations affected by the delays was True the Vote. True the Vote had filed its application

        for exempt status on July 15, 2010. The application was not processed on a timely basis. After

        an unusually prolonged delay, True the Vote sought assistance in early 2011 from its home state

        senator, John Cornyn (R-TX). A copy of the Taxpayer Advocate Service’s response to Senator

        Cornyn’s January 5, 2011 letter regarding True the Vote’s application is attached as Exhibit L.

                   On June 3, 2011, Chairman Camp sent a letter to then-IRS Commissioner Defendant

        Douglas Shulman inquiring about the potential targeting of taxpayers who donated money to

        conservative groups and seeking information regarding audits of 501(c)(4) organizations.30 The

        alleged “crash” of Ms. Lerner’s hard drive occurred just ten days later but was not publicly

        disclosed for more than three years.


                   29
                  This decision was the subject of True the Vote’s Notice of Supplemental Authority
        (Dkt. #80), which included a copy of the decision (Dkt. #80-1).
                   30
                A copy of the June 3, 2011 letter from Chairman Camp is available at
        www.waysandmeans.house.gov/UploadedFiles/Non_6103_ltr_FINAL.pdf.

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                   Meanwhile, beginning in February 2012, the IRS Targeting Scheme became the subject

        of numerous additional congressional inquiries. At that time, Chairman Issa and Rep. Jim Jordan

        (R-OH), also of the Oversight Committee, requested a report from the Treasury Inspector

        General for Tax Administration (“TIGTA”). The subsequent TIGTA report, issued on May 14,

        2013, found that the IRS had indeed targeted organizations based on their mission, purpose, and

        perceived political philosophy.

                   Following issuance of the TIGTA report last May, various congressional investigations

        and hearings ensued. In connection with these investigations, various House committees have

        requested that the IRS and other federal agencies produce documents and records related to the

        IRS Targeting Scheme. To put it mildly, the IRS has been less than cooperative in providing the

        requested information to Congress.       According to Chairman Issa, the IRS has engaged in

        “continued dilatory and obstructionist actions” that have impeded the Committees’ investigations

        and the search for truth.31 Chairman Camp stated that the Committee’s “entire investigation has

        been slow-walked by the Administration while they denied any wrongdoing and tried blaming

        ‘low-level’ workers in Cincinnati – all of which we have proven to be wrong.”32

                   The document requests to the IRS included a June 4, 2013 request from the Oversight

        Committee for “[a]ll documents and communications sent by, received by, or copied to Lois




                   31
                  Letter of Darrell Issa, H. Comm. on Oversight & Gov’t Reform, to John Koskinen at p.
        2, Internal Revenue Serv. (June 16, 2014), available at http://oversight.house.gov/wp-
        content/uploads/2014/06/2014-06-16-DEI-to-Koskinen-IRS-Lerner-emails-and-hearing-
        invite.pdf. (attached as Exhibit M)
                   32
                  See Press Release, House Committee on Ways and Means (June 17, 2014), available at
        http://waysandmeans.house.gov/news/documentsingle.aspx?DocumentID=384708.


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        Lerner…between January 1, 2009, and the present.”33                The IRS produced no responsive

        documents.          In particular, the Oversight Committee received no emails from Ms. Lerner.

        Accordingly, Chairman Issa issued a subpoena to Treasury Secretary Jacob Lew, the custodian

        of all IRS documents.34 On February 14, 2014, the subpoena was reissued to newly confirmed

        IRS Commissioner John Koskinen. On several subsequent occasions—including as recently as

        March 26, 2014—Commissioner Koskinen swore under oath that his agency would provide all

        of Ms. Lerner’s emails as required by the subpoena.35

                   Long before True the Vote filed suit, prior events had already placed the IRS and the

        Individual Defendants on notice of their obligations to preserve not only Ms. Lerner’s emails but

        all evidence relevant to the IRS Targeting Scheme. Defendants were certainly on notice by

        August 25, 2010, when Z Street filed suit. Defendants were also on notice by early 2011, as a

        result of various congressional inquiries—including the January 5, 2011 inquiry from Senator

        Cornyn that specifically referenced True the Vote.

                   Long before the IRS Targeting Scheme prompted the filing of a complaint or the launch

        of a congressional inquiry or investigation, Defendants were obligated to preserve not only Ms.

        Lerner’s emails but those of all Defendants as a matter of law. The IRS is required by federal

        law to keep records of all agency emails and to print out hard copies of emails that qualify as

        “federal records” within the meaning of the Federal Records Act of 1950, 44 U.S.C. § 3101 et

                   33
                   Letter from Darrell Issa & Jim Jordan, H. Comm. on Oversight & Gov’t Reform, to
        Daniel     Werfel,     Internal    Revenue    Serv.   (June   4,   2013),   available   at
        http://oversight.house.gov/wp-content/uploads/2013/11/2013-06-13-DEI-Camp-Jordan-
        Boustany-to-Lew-Treas-IRS-tax-exempt-applications-due-6-27.pdf.
                   34
                 Letter from Darrell Issa, H. Comm. on Oversight & Gov’t Reform, to Jacob Lew, Dept.
        of the Treasury (Aug. 2, 2013), available at. http://oversight.house.gov/wp-
        content/uploads/2013/08/8.2.13-Issa-to-Lew.pdf.
                   35
                        See June 16, 2014 letter from Issa to Koskinen at p. 2-5 (Exhibit M).


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        seq. As interpreted by the IRS in its Internal Revenue Manual (“IRM”), the Federal Records Act

        “requires, among other things, that the head of each federal agency establish and maintain an

        active, continuing program for the economical and efficient management of agency records.”

        IRM § 1.15.1.5(1)(D) (2013). The Federal Records Act “applies to email records just as it does

        to records…create[d] using other media.” Id. § 1.10.3.2.3(2). According to the IRS, any email

        that is “[c]reated or received in the transaction of agency business” or “evidence of the

        government’s function and activities” qualifies as a “federal record.” Id. Any email that “meet[s]

        the definition of federal record [must] be added to the organization’s files by printing them…and

        filing with related paper records.” IRM § 1.10.3.2.3(3). Simply “maintaining a copy of an email

        or its attachments within the IRS email MS Outlook application does not meet the requirements

        of maintaining an official record.” IRM § 1.10.3.2.3(5) (emphasis added). In other words,

        whatever hard drive(s) may or may not have crashed, hard copies of the emails of all

        Defendants’ emails should be available for production in this litigation. In addition, the “crash”

        of Ms. Lerner’s hard drive ought not to have affected emails that—although they originated with

        or were sent to Ms. Lerner—were exchanged with other Defendants.36

                   To date, Defendants’ counsel have been unwilling to provide any information whatsoever

        regarding the whereabouts of electronic and hard copy evidence alike in the possession, custody,

        and control of the Defendants. Nor have Defendants’ counsel explained whether safeguards are

        in place to maintain the integrity of their respective clients’ emails, hard copy records, and other

        relevant evidence—much less what those safeguards may (or may not) be. The integrity of Ms.

        Lerner’s emails is particularly important for two reasons. First, over the course of the last year,


                   36
                  For example, the cc: recipients of the Dec. 4, 2012 email from Ms. Lerner in which she
        sought to have the IRS audit a U.S. Senator included Defendants Holly Paz and David Fish.


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        since the first public acknowledgement of the IRS Targeting Scheme, Ms. Lerner—the former

        head of the IRS’ Exempt Organization Division—has emerged as a central figure in this

        controversy. See http://www.oversight.house.gov/IRS. Second, Ms. Lerner’s emails and other

        documents are the principal source of information about her role in the IRS Targeting Scheme.

        In connection with congressional investigations, Ms. Lerner has already refused to testify—a

        refusal that has already prompted calls for her to be prosecuted criminally37 and/or held in

        contempt as sought by a House resolution passed on May 7, 2014.38 At this juncture, there is no

        reason to believe that Ms. Lerner will willingly testify in this or any other legal proceeding.

                   Earlier this month—more than a year after receiving the first congressional request for

        Ms. Lerner’s emails—the IRS informed the Senate Finance Committee and the House

        Committee on Ways and Means (which is also investing the IRS Targeting Scheme) that it could

        not produce Ms. Lerner’s emails from a period of January 1, 2009–April 2011 due to an alleged

        “computer crash.”39 According to the Ways and Means Committee, the IRS knew of the alleged

        loss of emails since at least February 2014—more than a month before IRS Commissioner

        Koskinen assured two congressional committees that the IRS would produce all of Ms. Lerner’s




                   37
                   On April 9, 2014, Ways & Means adopted a criminal referral of Ms. Lerner for her
        actions in violation of federal law regarding mistreatment of applicants for exempt organizations.
        A copy of this letter is attached as Exhibit N. The exhibits to this letter are available at
        http://waysandmeans.house.gov/uploadedfiles/4.9.14_lerner_referral_and_exhibits.pdf.
                   38
                See H. Res. 574, 113th Cong. (2nd Sess. 2014), available at http://oversight.house.gov/
        wp-content/uploads/2014/04/4-10-14-CONTEMPT-REPORT-Full-Committee-Business-
        Meeting-Lois-Lerner1.pdf.
                   39
                  Letter from Leonard Oursler to Ron Wyden, Dept. of the Treasury (June 13, 2014),
        available at http://waysandmeans.house.gov/uploadedfiles/6_13_14_irs_letter.pdf (attached as
        Exhibit O).


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        emails.40 Four days later, on June 17, 2014, the IRS claimed that Ms. Lerner’s emails from the

        relevant time period are not the only ones “missing.” The other emails alleged to be “missing”

        are those of six other IRS employees involved in the IRS Targeting Scheme.41 Id. According to

        IRS Commissioner Koskinen, the IRS is still assessing the extent of this additional loss of

        information. Of course, if what Commissioner Koskinen says is true, the IRS has already had

        more than three years to do so.

                                     III.     PROCEDURAL STANDARDS

                   A.     Federal Rule 65 Authorizes Preliminary Injunctive Relief
                          to Preserve the Status Quo and Prevent Irreparable Harm.

                   True the Vote seeks to obtain information regarding the claimed “loss” of relevant

        evidence and to prevent further destruction of relevant evidence in the possession, custody, or

        control of Defendants, third party vendors or Defendants’ counsel. The relief sought by True the

        Vote includes an order directing Defendants to preserve all ESI and documentary evidence

        related to the IRS Targeting Scheme.

                   The basis for the relief sought by True the Vote includes Federal Rule of Civil Procedure

        65, which authorizes preliminary injunctive relief “to maintain the status quo pending a final

        determination of the suit on the merits.” City of Moundridge v. Exxon Mobil Corp., 429 F. Supp.

        2d 117, 126 (D.D.C. 2006). In other words, it is designed to “‘hold the parties in place until a

        trial can take place.’” Disability Rights Council of Greater Wash. v. Wash. Metro. Area Transit

                   40
                  See Press Release, “EXPOSED: IRS Kept Secret For Months, More Than Just Lerner
        Emails Lost, H. Comm. on Ways and Means (June 17, 2014), available at
        http://waysandmeans.house.gov/news/documentsingle.aspx?DocumentID=384708.
                   41
                  Patrick Howley, Meet the Seven IRS Employees Whose Computers ‘Crashed,’ Daily
        Caller, June 26, 2014, http://dailycaller.com/2014/06/26/meet-the-seven-irs-employees-whose-
        computers-crashed/ (listing the six employees in addition to Defendant Lerner whose computers
        allegedly crashed).


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        Auth., 234 F.R.D. 4, 7 (D.D.C. 2006) (internal citations omitted). Further, for equitable reasons,

        courts may “enjoin[] defendants from destroying evidence pending the resolution of this action.”

        FTC v. NAFSO VLM, Inc., No. CIV S-12-0781 KJM-EFB, 2012 U.S. Dist. LEXIS 44244, at *9

        (E.D. Cal. Mar. 29, 2012). This is true even where electronic evidence is being destroyed

        “through the normal use of the computer equipment.” Antioch Co. v. Scrapbook Borders, Inc.,

        210 F.R.D. 645, 651 (D. Minn. 2002); see also Am. Friends Serv. Comm. v. Webster, 485 F.

        Supp. 222, 233 (D.D.C. 1980) (finding that plaintiff “will suffer significant, irreparable injury if

        defendants’ continuing destruction of FBI files [in accordance with its record destruction

        program] is not enjoined”).

                   To obtain a preliminary injunction pursuant to Rule 65, True the Vote “‘must establish

        [1] that [it] is likely to succeed on the merits, [2] that [it] is likely to suffer irreparable harm in

        the absence of preliminary relief, [3] that the balance of equities tips in [its] favor, and [4] that an

        injunction is in the public interest.’” Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)

        (quoting Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).

                   B.     This Court Has Discretion Under Federal Rule 26 to Order Expedited
                          Discovery, Including Discovery of Electronically Stored Information.

                   Federal Rule of Civil Procedure 26 “‘vests the trial judge with broad discretion to tailor

        discovery narrowly and to dictate the sequence of discovery.’” Watts v. SEC, 482 F.3d 501, 507

        (D.C. Cir. 2007) (quoting Crawford-El v. Britton, 523 U.S. 574, 598 (1998)).42 “Although the

        Federal Rules of Civil Procedure do not provide specific standards for evaluating expedited

        discovery motions, the Rules do provide the court with the authority to direct expedited

        discovery in limited circumstances.” Disability Rights Council, 234 F.R.D. at 6; see also Warner

                   42
                  When “authorized by…court order,” parties may serve discovery requests before
        conferring as required by Rule 26(f). Fed. R. Civ. P. 26(d)(1).


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        Bros. Records Inc. v. Doe, 527 F. Supp. 2d 1, 2 (D.D.C. 2007) (“Courts have wide discretion in

        discovery matters and have allowed parties to conduct expedited discovery where good cause is

        shown.”).

                   “To determine whether expedited discovery is appropriate, courts have developed two

        commonly recognized approaches: (1) the Notaro test and (2) the reasonableness, or good cause,

        test.” Disability Rights Council, 234 F.R.D. at 6. The “Notaro test” was articulated in the case of

        Notaro v. Koch, 95 F.R.D. 403 (S.D.N.Y. 1982).         While courts have employed both tests,

        “[m]ore recent cases have rejected the Notaro test in favor of [the] reasonableness test,

        particularly in cases where the expedited discovery is related to a motion for a preliminary

        injunction.”     Disability Rights Council, 234 F.R.D. at 6; see also Ellsworth Assocs. v. United

        States, 917 F. Supp. 841, 844 (D.D.C. 1996) (“Expedited discovery is particularly appropriate

        when a plaintiff seeks injunctive relief.”).

                   The Notaro test requires the moving party to “demonstrate (1) irreparable injury, (2)

        some probability of success on the merits, (3) some connection between the expedited discovery

        and the avoidance of the irreparable injury, and (4) some evidence that the injury that will result

        without expedited discovery looms greater than the injury that the defendant will suffer if the

        expedited relief is granted.” In re Fannie Mae Derivative Litig., 227 F.R.D. 142, 142 (D.D.C.

        2005) (quoting Notaro, 95 F.R.D. at 405).

                   The factors considered under the “reasonableness” standard for expedited discovery

        include: “(1) whether a preliminary injunction is pending; (2) the breadth of the discovery

        requests; (3) the purpose for requesting the expedited discovery; (4) the burden on the defendants

        to comply with the requests; and (5) how far in advance of the typical discovery process the




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        request was made.” Disability Rights Council, 234 F.R.D. at 6 (citing In re Fannie Mae

        Derivative Litig., 227 F.R.D. at 143).

                   Under Federal Rule 26, parties “may obtain discovery regarding any matter, not

        privileged, which is relevant to the subject matter involved in the pending litigation.” Fed. R.

        Civ. P. 26(b)(1). Moreover, Federal Rule 34 permits “a party or its representative to inspect,

        copy, test, or sample” any “tangible things” within the scope of permissible discovery under Rule

        26.    Fed. R. Civ. P. 34(a)(1).    The scope of permissible discovery specifically “includ[es]

        computer hard drives of the computers which generated emails that were later improperly

        deleted.” Orrell v. Motorcarparts of Am., Inc., No. 3:06CV418-R, 2007 U.S. Dist. LEXIS 89524,

        at *18 (W.D.N.C. Dec. 5, 2007); see also Fed. R. Civ. P. 34 advisory committee’s note (“Rule 34

        applies to electronic data compilations from which information can be obtained only with the use

        of detection devices”); Antioch Co., 210 F.R.D. at 652 (“[I]t is a well accepted proposition that

        deleted computer files, whether they be e-mails or otherwise, are discoverable.”); Simon Prop.

        Grp. L.P. v. MySimon, Inc., 194 F.R.D. 639, 640 (S.D. Ind. 2000) (“First, computer records,

        including records that have been ‘deleted,’ are documents discoverable under Fed. R. Civ. P.

        34.”); Zubulake v. UBS Warburg LLC, 217 F.R.D. 309, 317 (S.D.N.Y. 2003) (Rule 34 permits

        discovery of “electronic documents that are currently in use, . . . documents that may have been

        deleted and now reside only on backup disks.”).

                                              IV.      ARGUMENT

                   A.     The Relief That True the Vote Seeks Is Necessary to Preserve Not Only the
                          Status Quo But Relevant Evidence and the Integrity of the Judicial System.

                   From Defendants’ response (or lack thereof) to the September 17, 2013 “litigation hold”

        letters, True The Vote’s subsequent request for a Rule 26(f) conference, and—most recently—

        True the Vote’s June 16, 2014 Document Preservation Letter, one thing is clear: Defendants are

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        laboring under the misapprehension that they are above the law. How else can one explain their

        characterization of a standard form “litigation hold” letter as being “designed to intimidate,

        threaten and harass”? See Ex. B at 1. At first, it was easy to dismiss this and other shrill and

        sarcastic rhetoric43 as mere posturing and overzealous advocacy. But even after Defendants’

        emails from the relevant time period were belatedly reported as “lost,” their counsel has given no

        indication whatsoever that Defendants take their obligations to this Court seriously.

        Notwithstanding reports of mysteriously disappearing emails, Defendants continue to dismiss

        legitimate requests for assurances that documents are being preserved as “unwarranted” (Ex. H)

        and “irresponsible” (Ex. J). The Department of Justice attorneys acting as counsel for the IRS in

        this case—when prosecuting rather than defending claims—would certainly never countenance

        the argument that the simple expedient of filing a motion to dismiss relieves a defendant of the

        obligation to preserve evidence. Actions do speak louder than words. Here, Defendants’ actions

        and words both speak loudly in support of the need for an order directing Defendants to preserve

        all electronically-stored evidence related to the IRS Targeting Scheme and permitting True the

        Vote to have an independent forensic examiner ascertain the scope of the damage already done

        and determine whether anything that has already been deleted can be salvaged.

                   Whether based on Rule 26, Rule 65, or both, preservation of evidence pending trial is an

        appropriate exercise of the Court’s discretion. The government so recognized when it secured an

        order pursuant to a Rule 65 motion “enjoin[ing] defendants from destroying evidence pending

        the resolution of this action” in FTC v. NAFSO VLM, Inc., No. CIV S-12-0781 KJM-EFB, 2012

        U.S. Dist. LEXIS 44244, at *9. Like the plaintiff in Am. Friends Serv. Comm., True the Vote

        “will suffer significant, irreparable injury” without a preliminary injunction to prevent any

                   43
                        See, e.g., Ex. B at 1 (“I was not expecting flowers”).


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        further document destruction. 485 F. Supp. at 233. Under Rule 26, the expedited discovery that

        True the Vote seeks is appropriate because it is narrowly tailored is “to gain evidence to get the

        court to preserve the status quo” concerning information vital to the resolution of this case.

        Disability Rights Council, 234 F.R.D. at 7.44 In this case, it is hard to conceive why Defendants

        would oppose such an order. The fact that they do underscores the need for such relief and the

        irreparable harm that True the Vote is likely to suffer without it.

                   B.        True the Vote Faces Further Irreparable Injury Unless Defendants Are
                             Ordered to Preserve Evidence and Submit to the Requested Inspection.

                   Irreparable injury is a prerequisite for both preliminary injunctive relief45 and expedited

        discovery, at least under the Notaro test. If the IRS’s public statements about loss of emails are

        true, True the Vote has already suffered irreparable injury. True the Vote will face irreparable

        injury to the fair adjudication of its claims—and consequently, its constitutional rights—if

        critical electronic information is not recovered and preserved. The spoliation of evidence that

        has reportedly already occurred is itself proof that True the Vote faces further irreparable harm

        without the relief that that it seeks. See, e.g., United States v. Sum of $70,990,605, No. 12-1905

        (RWR), 2013 U.S. Dist. LEXIS 167158, at *15-16 (D.D.C. Nov. 25, 2013) (“Destruction

        of evidence may also rise to the level of irreparable harm” where “proof of destroyed evidence or

        a threat of destroying evidence” exists); Treppel v. Biovail Corp., 233 F.R.D. 363, 371 (S.D.N.Y.

        2006) (“The burden of establishing the risk that documents will be destroyed in the future is




                   44
                  See also Am. LegalNet, Inc. v. Davis, 673 F. Supp. 2d 1063, 1069 (C.D. Cal. 2009)
        (expedited discovery request appropriate where limited to information to preserve the status
        quo).
                   45
                        See, e.g., Sherley, 644 F.3d at 392.


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        ‘often met by demonstrating that the opposing party has lost or destroyed evidence in the past or

        has inadequate retention procedures in place.’”) (internal citations omitted).

                   In this case, the IRS has already destroyed or permitted the destruction of evidence in

        violation of the Federal Records Act and notwithstanding the pendency of litigation in this Court.

        The IRS’s track record so far suggests the risk that additional destruction—inadvertent or

        otherwise—may be forthcoming. To prove its case, True the Vote needs access to information in

        Defendants’ possession. Without a full and fair opportunity to review such information, True the

        Vote will be irreparably harmed.

                   C.     The Likelihood of Success, Balance of Equities, and Public Interest All
                          Weigh in Favor of Preliminary Injunctive Relief and Expedited Discovery.

                   In important respects, “the Notaro standard[] overlap[s] with the preliminary injunction

        standard.” Guttenberg v. Emery, No. 13-2046 (JDB), 2014 U.S. Dist. LEXIS 37101, *21 (D.D.C.

        Mar. 19, 2014). In this case, the remaining factors relevant to the award of both a preliminary

        injunction and—under the Notaro test—expedited discovery all weigh in favor of the relief that

        True the Vote seeks.

                          1.     True the Vote has demonstrated sufficient likelihood of success
                                 for both a document preservation order and expedited discovery.

                   If allowed to continue destroying evidence and failing to have adequate preservation

        measures in place, Defendants can obviously make likelihood of success on the merits more

        difficult for True the Vote—along with other plaintiffs challenging the IRS Targeting Scheme.

        At this juncture, however, the preliminary injunction and related relief that True the Vote seeks

        is not addressed to the merits of its First Amendment and other constitutional and statutory

        claims. Rather, it is designed to “‘hold the parties in place until a trial can take place.’”

        Disability Rights Council, 234 F.R.D. at 7 (internal citations omitted). In these circumstances,

        “certain courts relax the standard so that plaintiffs do not have to demonstrate likelihood of
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        success on the merits of the litigation, as such consideration is not appropriate for evidence

        preservation.” Ingersoll v. Farmland Foods, Inc., No. 10-6046-CV-SJ-FJG, 2013 U.S. Dist.

        LEXIS 15943, *6 (W.D. Mo. Feb. 6, 2013) (emphasis added) (internal citations omitted). It

        would “‘put the cart before the horse’” to “evaluate the merits of the litigation even before

        evidence has been gathered, let alone produced to the opposing party or submitted to the court.”

        Treppel v. Biovail Corp., 233 F.R.D. 363, 370 (S.D.N.Y. 2006) (internal citations omitted).

                   By any measure, however, True the Vote has shown the requisite likelihood of success on

        the merits. Defendants’ pending motions to dismiss border on the frivolous, for the reasons set

        forth in the oppositions previously filed by True the Vote.46 In parallel litigation in which

        another organization targeted by the IRS has raised similar First Amendment and other claims,

        this Court recently rejected arguments similar to those advanced by the IRS in this case. See Z

        St., Inc. v. Koskinen, No. 12-cv-0401 (KBJ), 2014 U.S. Dist. LEXIS 71638 (D.D.C. May 27,

        2014) (denying IRS’s motion to dismiss and rejecting argument that a viewpoint discrimination

        claim against the IRS is barred by Anti-Injunction Act and Declaratory Judgment Act and

        argument that declaratory judgment provision of 26 U.S.C. § 7428 provides an adequate remedy

        at law).47

                             2.     The balance of equities weighs heavily in favor of the document
                                    preservation order and expedited discovery that Plaintiff seeks.

                   The only way that the relief sought by True the Vote could possibly harm Defendants

        would be by making it less likely that they can avoid having to answer for developing and

        implementing the IRS Targeting Scheme. Making it more difficult for Defendants in this case to



                   46
                        (Dkts. ## 65, 67)
                   47
                        See Plaintiff’s Notice of Supplemental Authority (Dkt. # 80).


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        destroy evidence with impunity is simply not the type of harm to the defendants that is even

        worthy of consideration under the “balance of equities” factor. Under similar circumstances, this

        Court has found that the “balance of equities” warrants relief like that sought by True the Vote in

        this case.

                   In Citizens for Responsibility & Ethics v. Exec. Office of the President, No. 07-1707

        (HHK/JMF), 2007 U.S. Dist. LEXIS 97574, at *2-3 (D.D.C. Oct. 19, 2007), the plaintiff

        complained that the White House had deleted millions of emails that it was supposed to keep.

        The plaintiff sought a temporary restraining order “requiring the White House to keep all backup

        tapes or similar media” that may contain deleted emails.         Id.    Although the government

        promised to keep all other information that had not yet been destroyed, the court granted the

        requested relief: “Unlike a court order, a declaration is not punishable by contempt.” Id. at *4.

                   Like the plaintiff in Citizens for Responsibility & Ethics, True the Vote needs a court

        order to protect its interests. Both before and after the filing of this litigation, the IRS, Ms.

        Lerner, and the other Individual Defendants have shown utter contempt for the rule of law. They

        have shown no regard for the First Amendment, the Federal Records Act, the Internal Revenue

        Manual, congressional subpoenas, or any other law. When asked that their clients comply with

        their document preservation obligations, counsel for Defendants have refused to even discuss the

        subject, sending letters dripping with venom instead. Under the circumstances, it is reasonable to

        expect that the only the prospect of contempt sanctions may finally get Defendants to take their

        legal and ethical obligations seriously. If Defendants are in fact willing to abide by their

        obligations to this Court, they should have no objection to the relief that True the Vote seeks. As

        this Court held in In re Fannie Mae Derivative Litig., “the injury that will result without




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        expedited discovery looms greater than the injury that the defendant will suffer if the expedited

        relief is granted.” 227 F.R.D. at 142 (quoting Notaro, 95 F.R.D. at 405).

                             3.     The public interest in the integrity of the judicial process warrants
                                    both preliminary injunctive relief and expedited discovery.

                   This lawsuit presents significant questions regarding whether the federal government

        and/or its employees have violated the constitutional or statutory rights of American citizens.

        Assuring that relevant evidence relevant to these questions is preserved is in the public interest.

        In fact, the particular information and documents sought to be preserved are, by nature, public

        documents. These documents are required to be kept—in both electronic and hard copy form—

        by the Federal Records Act and the Internal Revenue Manual. But for their recent disappearing

        act, at least some of these documents are properly the subject of Freedom of Information Act

        requests. The public has a right to know what its government has been up to. The requested

        relief is not only in the public interest, it greatly benefits the public.

                   D.        The Court Should Exercise Its Rule 26(d) Discretion and Expedite Discovery
                             for the Purpose of Restoring and Preserving Relevant Electronic Evidence.

                   Three years after the fact, the IRS now claims that otherwise discoverable ESI relevant to

        True the Vote’s claims has been “lost” and is “unrecoverable.”48 Even if the ill-timed hard drive

        “crash” was truly an accident, and even if the IRS genuinely believes that the emails are

        “unrecoverable,” the circumstances of the spoliation at issue cry out for a second opinion. It may

        well prove to be the case that a computer forensics expert could recover evidence that the IRS

        has been unable to retrieve. At the very least, such an expert could preserve whatever evidence

        has not already been wiped clean from the IRS’s computers along with whatever is stored on the

        Individual Defendants’ home computers, cell phones, and other PDAs. Accordingly, True the

                   48
                        June 13, 2014 Letter from Oursler to Wyden at 7 (Exhibit O).


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        Vote has narrowly tailored its request to accomplish these limited purposes. Subject to further

        specification as approved by this Court, True the Vote seeks to conduct discovery on an

        expedited basis as follows:

             (1) Subject to the approval of the Court, True the Vote would designate an independent,
                 computer forensics expert to conduct discovery as True the Vote’s representative (the
                 “Expert”).
             (2) The Expert would be permitted to inspect and examine (by entering Defendants’ premises
                 or other location, if necessary) any computer hard drive, server, back-up tape, or related
                 storage device that contains or did contain documents and electronically stored
                 information sent by, received by, or copied to all Defendants, including Ms. Lerner,
                 between January 1, 2009, and the present.
             (3) The Expert would be permitted to take all reasonably necessary action to restore deleted
                 or lost data.
             (4) The Expert would be permitted to make copies of any data recovered or restored.
             (5) Copies of any recovered data would be produced to Defendants’ counsel and the Court,
                 but not to True the Vote or its counsel, until such time that the recovered data, subject to
                 any applicable privilege, must be produced in response to subsequent discovery requests.
             (6) Defendant IRS would be required to provide sworn statements concerning: (a) the type of
                 email system(s) software used; (b) diagrams of the hardware/software operational
                 systems; (c) the IRS’s retention policies and procedures, including retention of data
                 backups, (d) any investigation, inquiries, or forensic review of the “crash” of Ms.
                 Lerner’s hard drive and any IRS servers regarding the same.

                   Where electronic data has already been or may be lost or deleted, other courts have often

        approved similar discovery protocols to permit the attempted recovery and preservation of the

        lost information. For example, in Antioch Co., the court permitted the plaintiffs—on an

        expedited basis—to appoint a neutral expert in computer forensics who would “attempt to

        resurrect data which [had] been deleted from the Defendants’ computer equipment.” 210 F.R.D.

        650-52. Similarly, in Orrell v. Motorcarparts of America, Inc., No. 3:06CV418-R, 2007 U.S.

        Dist. LEXIS 89524, *7 (W.D.N.C. Dec. 5, 2007), the plaintiff claimed her home computer had

        “crashed,” thereby destroying all responsive evidence.           The court “conclude[d] that the

        Defendant [was] entitled to conduct a forensic examination of the [plaintiff’s] home computer, at


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        the Defendant’s expense, and to an Order prohibiting the destruction of additional evidence.” Id.

        at *23; see also Simon Prop. Group L.P. v. MySimon, Inc., 194 F.R.D. 639, 641 (S.D. Ind. 2000)

        (“plaintiff is entitled to attempt (at its own expense) the task of recovering deleted computer

        files” by “select[ing] and pay[ing] an expert who will inspect the computers in question to create

        a ‘mirror image’ or ‘snapshot’ of the hard drives”); Playboy Enters. v. Welles, 60 F. Supp. 2d

        1050, 1054 (S.D. Cal. 1999) (allowing court-appointed computer specialist, as an officer of the

        court, access to party’s computer system on a finding of systematic deletion of relevant e-mails).

                   As previously discussed, the relief sought by True the Vote satisfies the standards for

        preliminary injunctive relief and expedited discovery under Notaro. It also satisfies the so-called

        “reasonableness” or “good cause” test.

                          1.     The expedited discovery sought by True the Vote easily
                                 satisfies the “reasonableness” or “good cause” test.

                   The “reasonableness” test is a “more liberal approach” than the Notaro test. It “directs

        the court to decide the motion based on the reasonableness of the request in light of all of the

        surrounding circumstances.” Landwehr v. FDIC, 282 F.R.D. 1, 3 (D.D.C. 2010) (citations and

        quotations omitted). In fact, under this standard, courts have granted requests for expedited

        discovery simply where “good cause” is shown. See Warner Bros. Records Inc., 527 F. Supp. 2d

        at 2 (permitting expedited discovery where request was narrowly tailored and information sought

        was “not only relevant but crucial to the prosecution of plaintiffs’ claims”). Such “good cause”

        exists here. On balance, the factors considered under the “reasonableness” standard weigh

        heavily in favor of the limited expedited discovery that True the Vote seeks.

                                 a.     Expedited discovery is “reasonable” because it is coupled with
                                        a motion for preliminary injunction to preserve the status quo.

                    “[E]xpedited discovery is frequently necessary and appropriate in cases involving

        requests for a preliminary injunction.” Metal Bldg. Components, L.P. v. Caperton, No. CIV-04-
                                                          29
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        0256 MV/DJS, 2004 U.S. Dist. LEXIS 28854, *9 (D.N.M. Apr. 2, 2004) (citing Ellsworth

        Assocs., Inc. v. United States, 917 F.Supp. 841, 844 (D.D.C. 1996) (holding that good cause for

        expedited discovery may exist where a party seeks a preliminary injunction)). In this case, True

        the Vote’s Motion does not seek relief on the merits. Rather, it is appropriately designed “to

        gain evidence to get the court to preserve the status quo” concerning information vital to the

        resolution of this case. Disability Rights Council, 234 F.R.D. at 7.

                   Without the requested discovery on an expedited basis, the requested injunction will not

        fully preserve the status quo. It is first necessary to attempt recovery of emails and other

        electronic information from storage devices that Defendants claim contain no recoverable

        information. Only then can the requested injunction preserve all relevant evidence and prevent

        irreparable harm until the normal discovery process begins.

                                 b.     Expedited discovery is “reasonable” because it is narrowly
                                        tailored to preserve and prevent destruction of evidence.

                   “The Court first examines the scope of the proposed discovery to assess whether it is

        reasonable.”      Guttenberg, 2014 U.S. Dist. LEXIS 37101, at *23. Unlike the plaintiff in

        Guttenberg, True the Vote does not “seek relatively broad discovery on issues going to the

        merits of their case.” Id. Rather, True the Vote seeks limited access—by a neutral third-party

        expert—to a narrowly defined set of hard drives and electronic data storage devices in order to

        independently verify the scope of recoverable information and to preserve that information.

                   In this case, the IRS has unilaterally declared emails to and from certain current and

        former IRS employees who are implicated in the IRS Targeting Scheme to be “lost” and

        “unrecoverable.” Without the requested relief, True the Vote likely will not get the chance to

        independently verify the accuracy of these claims. The need for relief is plainly urgent. IRS

        Commissioner Koskinen claims that the IRS has already destroyed the hard drive used by Ms.

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        Lerner at work, allegedly in the usual course of business.49 Without the requested relief, emails

        and other electronic data generated by other IRS employees are likely to meet a similar fate.

                                              V.      CONCLUSION

                   The fact that Defendants have filed a motion to dismiss does not give them carte blanche

        to destroy or permit the destruction of documents and discoverable information that are relevant

        to the IRS Targeting Scheme in general and the application of True the Vote for exempt status.

        If the IRS’s public statements about “recycling” Ms. Lerner’s hard drive are true, that alone

        establishes spoliation of evidence that violates federal statutes and regulations, the Federal Rules

        of Civil Procedure, and professional ethics and responsibility. These statements, coupled with

        the refusal of Defendants’ counsel, to provide any assurances about what has been and will be

        done to preserve evidence underscore the need for the relief that True the Vote seeks. Such relief

        is not uncommon in commercial litigation. It is all the more warranted here in view of the First

        Amendment and related constitutional issues raised by True the Vote’s claims.

        Date: June 30, 2014




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                   Hearing with IRS Commissioner John Koskinen Before the H. Comm. on Ways and
        Means, 113th Cong. (2014), available at http://www.c-span.org/video/?320046-1/irs-targeting-
        investigation (answer of IRS Commissioner Koskinen at 26:46 in video)


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        Respectfully submitted,

        /s/Michael J. Lockerby
        Cleta Mitchell (D.C. 433386) (lead)            William E. Davis (D.C. Bar No. 280057)
        Michael J. Lockerby (D.C. 502987)              Mathew D. Gutierrez (Fla. 0094014)*
        FOLEY & LARDNER, LLP                           FOLEY & LARDNER, LLP
        Washington Harbour                             One Biscayne Tower
        3000 K Street NW Suite #600                    2 South Biscayne Boulevard
        Washington, DC 20007                           Suite 1900
        (202) 672-5300 (telephone)                     Miami, FL 33131
        (202) 672-5399 (fax)                           (305) 482-8404 (telephone)
        cmitchell@foley.com                            (305) 482-8600 (fax)
        mlockerby@foley.com                            wdavis@foley.com

        Counsel for Plaintiff                          mgutierrez@foley.com

                                                       Counsel for Plaintiff
        Kaylan L. Phillips (D.C. 1110583)
        Noel H. Johnson (Wisc. 1068004)*               John C. Eastman (Cal. 193726)*
        ActRight Legal Foundation                      Center for Constitutional Jurisprudence
        209 West Main Street                           c/o Chapman University School of Law
        Plainfield, IN 46168                           One University Drive
        (317) 203-5599 (telephone)                     Orange, California 92866
        (888) 815-5641 (fax)                           (877) 855-3330 x2 (telephone)
        kphillips@actrightlegal.org                    (714) 844-4817 (fax)
        njohnson@actrightlegal.org                     jeastman@chapman.edu

        Counsel for Plaintiff                          Counsel for Plaintiff


        *Pro Hac Vice Motions granted




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                                            CERTIFICATE OF SERVICE

                   I hereby certify that on June 30, 2014, I caused the foregoing MEMORANDUM IN

        SUPPORT OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION AND

        EXPEDITED DISCOVERY TO PREVENT FURTHER SPOLIATION OF, AND TO

        PRESERVE AND RESTORE, EVIDENCE AND DISCOVERABLE INFORMATION to be

        filed with the United States District Court for the District of Columbia via the Court’s CM/ECF

        system, which will send a notice of electronic filing to all counsel of record.

                   I further certify I will cause a true and correct copy of the foregoing to be served upon the

        following Defendant, for whom no counsel of record has yet entered an appearance, via U.S.

        Certified Mail at his last known address, as follows:


        DAVID FISH
        3623 37th St. N.
        Arlington, Virginia 22207



        Dated: June 30, 2014                                     /s/ Michael J. Lockerby
                                                                 Michael J. Lockerby
                                                                 mlockerby@foley.com

                                                                 Counsel for Plaintiff




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